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    Angel Abreu
    David County Jail
    Farmington, UT 84025


    RE: GRAMA request
    October 26, 2021


    Mr. Abreu,


    On October 18, 20211 received your GRAMA request dated October 26, 2021. As you are aware your
    request was as follows:


    "ANY AND ALL JAIL REPORTS/RECORDS FROM 9/26/20 INCIDENT WHEN MY STOMACH WAS CUT OPEN
\   DURING CELL EXTRICATION ALONG WITH OFFICER REPORTS."


    The reports regarding the incident on 9/26/2020 are being provided to you along with this response
    letter.


    The reports have been redacted per Utah Code Annotated 63G-2-106(4) which deal with the records of
    a governmental entity regarding security measures and procedures designed for the protection of
    persons or property are not subject to GRAMA, and Utah Code Annotated 63G-2-302(2)(d) which deal
    with the unwarranted invasion of personal privacy.


    Per Utah Code Ann. 63G-2-201(8)(d) In response to a request, a governmental entity is not required to
    fulfill a person's records request if the request unreasonably duplicates prior records requests from that
    person.


    On January 25, 20211 filled this same records request for you. This request will not be filled again, so I
    suggest that you retain these records.


    The standard fee for GRAMA requests is $10.00 per report. I have filled several requests for you at the
    inmate copy fee of $0.15 per page. As my response to your previous GRAMA indicated, "you will be
    billed the Standard fee of $10.00 per record for any subsequent GRAMA requests 11 , your account has
    been billed the $10.00 records fee.


    You have the right according to Utah Code Ann. 63G-2-401 to appeal the partial denials (redactions)
    contained herein by filing a notice of appeal with the Chief Administrative Officer no later than 30 days
    after the date of issuance of this response. Your appeal should be addressed to:


    Commissioner Bob Stevenson
     Davis County Commission Chairperson
     PO Box 618




                                                                                     INMATE COP~f
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This fulfills this GRAMA records request.




L. Stubbs
Davis County Sheriff's Office
Jail Records Division




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Angel Abreu
David County Jail
Farmington, UT 84025


RE: GRAMA request
October 26 1 2021


Mr. Abreu,


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 Davis County Commission Chairperson
 PO Box 618



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Case 1:21-cv-00129-RJS Document 10-4 Filed 12/28/21 PageID.135 Page 5 of 23




Farmington, UT 84025
This fulfills this GRAMA records request.




L. Stubbs
Davis County Sheriff's Office
Jail Records Division
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                         ~auis Oinuuty Qinmmissinu
    Commissioner Randy B. Elliott     Commissioner Lorene M. Kamalu       Commissioner Bob J Stevenson


 December 7, 2021




 Angel Abreu
 Davis County Jail
 Farmington, UT 84025

 Re: Notice of Decision Regarding Appeal of GRAMA Decision

 Dear Mr. Abreu:

       This Notice of Decision Regarding GRAMA Appeal is made in response to your
 Appeal of GRAMA Denial (the "Appeal") that was received in our office on December 1, 2021.

         Per our records, the Davis County Sheriff's Office received a ORAMA request from you
 on October 18, 2021 regarding an incident that happened on September 26, 2020. The Sheriff's
 Office responded to your request on October 26, 2021.

         Please note that 30 days are allowed to appeal a ORAMA denial. Because your appeal of
 the partial denials (redactions) of information was not received in our office until December 1,
 2021, we are unable to accept your appeal.




                                               ~1~¼
                                                  Bob J Stevenson
                                                  Davis County Commission Chair




Davis County Administration Building • 61 South Main Street, Suite 301 • P.O. Box 618 • Farmington, Utah 84025
  801.451.3200 • Fax: 801.451.3202 • Email: commissioners@daviscountyutah.gov • www.daviscountyutah.gov
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Angel Abreu
 Davis County Jail
800 W State Street
 Farmington 1 UT 84205



 December 101 2021



 Mr. Abreu 1


 Davis County Sheriff1 s Office has revisited the practice of removing Deputy last names and rank
 from records that we will be provided to requesters from now on.


 As such 1 I am providing you with a copy of the records that you had previously requested 1 in the
 now current format to include Deputy last names and rank. These records are being provided at
 no charge and accompany this Supplemental Response letter.



 Best regards 1




 L. Stubbs
 Davis County Sheriffs Office
 Jail Records Division




                                                                     INMATE COPY
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                          DAVIS COUNTY SHERIFF'S OFFICE
                           Jail Incident Report


             Jnil lncldent: 1281                                                             Tlme:Reportud: l 9:l8~32J)9/26/20
                    Nature: VIOLATION                                                       Event Boglmihlg: 19:19,:14:09/26/20
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Jail Incident Report                                                                                      Page 2 of 9


2035•1, Deput¥....IIIIIIIIII entered Quebec Housing Unit for safety and security rounds
2038•Se:rgeant-- entered Quebec Housing unit
2042~Quebec Cell opened, Crime Scene entered for photos.
2044-Sergeant                      exited Quebea Hous:l.:ng .Unit
20S6~Offioe:i:-           , .Oeteotive ·■1111■1 crime Lab exited o e l l -
2058•Quebec. Cel·           :decla:i;ed to be goQd to cleaned
206,9•0ffioer                 Deteotive ■■■I Crime I,,ab, sergeant . . . Corporal _ _ and myself exit
Queben:i l-lo1,ud,.n9 Unit,




SUPPLEMENTALi-
on the :nJ ht .of 9/2.6/2020,



The CERT team entered Quebec an                                                        .askecl ·me to call -
                                                                                                   Watching Sgt ..
           an!;l the CER':l' team, sgt.                                                         and .CER'l' entered
the aell, over the speaker all I could hear was unidentified grunting •
.At ·1916, Sgt.. -     called over the radio for                   to aall for an ambulanoe and ·asked me
 to call llllllllllfto confirm tha.t they were doing ,so. At approximately 1918 CERT exited Quebec with
 Abreu en th.~ gurney.
At 2034 Farm_ington PD O e t e o t : i . ~ Farmington Pol:!.oe Officer - cr~me 'Lab 'l'eohnioian
- • --~gt,. - a n d .Cpl, -entered Quebec housing unit. Thay ~round 2059.
:At appro:dmatel'y 2121, Peputy




 SUPPLEMENTAL:
 The ·following items we:re inventoried from inmate Abreu•s oellt
·1 tadio with 2 batteries
 1.25 bags of Whey froted.n
 1 prayei;- ;rug
 l pillow :(discarded, no .name on pillow)
,3 .bowls .
  l clear c4p
 ·2 green toothbrushes
 , tubes of toothpaste
 ;2 .bar$ of soap
 2 bottles of vitam:L11s
 1 bottle of baby powder
 2 bottles of lotion
 1 tube triple antibiotic ointment
 1 tube of·hair gel
 l stick o? deodorant
 1   face mask
 1 bag·of safety dental floss
 1 bottle of E1ye c.'lrc;,ps
 1 bottle ot· lip bairn
 4 peno:i.ls
 13 ·magazines with name on th.em
 13 books wlLth name on them
 3 l~:i:,ge y_~;t:l<:>W envelopes ma.rked legal mail with several papers in eaoh
 2 manilla tolder~ witih •peyeral misoellaneous papers
 2 blue £<>).i;ierl!/1 with ,E1ev13ral m:Lsaellaneous pape,:-a, envelopes, .pictures
 1 ;~::l.p.l.oo b;e,ggie with t1eve~~1 .Pictures of family
 Sever~l ;pii.:otiures sent via email

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4 composition notebooks, 1 of which contained several miscellaneous J?llpers
several larse stacks of paperB from court proceedings, Utah laws and other miscellaneous papers




SUPPI.lEM]l}NTAL;-
,Abreu began floodina his cell           and placing soap on the floor. Abreu then covered up his window and
 started movir19 water out from          under h:l.s cell door ont.o ~he walkway of the tier. Sgt. ·••■Ill and
 Cpl. -      entered Quebec: and         turned off the water to prevent a further mess from :being created. AB
 o.f 1500hrs ,Abreu :Ls still non        compliant and yelling fuok you bitch and fudking puHy to me as I have
  conducted rounds.

SUPPLEMENTALf-
On 09/2$/;ao:ao I received notice that the ClilRT .team would be moving Inmate ABREU, l\NGEL £16119 to -
■due to his ,behavior throughout the day, We were told that he was refusing to cuff µp on 'h:l.s own to
 be moved.,and also that he had poured liquids all over the floor as well ,as food.




                                                                         we then went into Quebec and immediately
   Inmat,es !'tattea chartt:l.ng and jr&l.l:i.ng. ·.once we got up to Quebec ■ I obse:r:vecl liquid ·and food all
 over the floor ,outside C'ff the cell as well as ,a towel ,covering his wind,ow, Sergeartt - g a v e
 him a warning that .if he didn 1 t submit to handcuffing fc:u:-oe would he used. Inmate ;ABREU di&l.'t
 respond:, Onoe the team was ready the door was opened. I saw tnmate Abreu 'by .himself standing towards
   the back of .the cell with his hands .coveting hia stomach/chest area. He ·didn't eomply with .our
  requests of getting do~ on his .stomach, He .ended up w:Lth his buttocks on the l1ottom bimk and again
 ,was told to get down on his dhest. .I had aontrol of his .left arm and once we had him on his stomach
  he was handcuffed and leg shackled, Almos.t ·the entire time he was screaming about .his atoniach .and
  once we looked •.at his ,stomach .Deputy ■■■■■ requested .an ambulance tC> :repond due to a wound that
   :was bleeding, AEI we were oar;r;ying him out I 0Quldn 1 t help but notiee all the water, slick floor,
  noodles, tu.i:ta fish, and tuna fish acks all of. the floor. He ,was carried down the stairs and placed
  on a gurney anci taken up to                to the .ambulance,
                                                                                During 1th s t me . ot    urses
 ,would aheok on him ·and confbm he was ok .and breathing. once we got him out in the veh'icle aally we
  c;iut his q;J.othing off du.e to aeeing alo.t of blood down by his wabtline area, Paramedics checks his
  l.eg area t;:o ensui:-e he wasn't .bleeding from anywhere else. We then lift.eel ;cnmate Abreu off of our
  gurney ani!l place.a him on Fa:rrnington Fires gumey, He was then taken to a looal hospit.al due to the
  severity   of  his wounds,


 Shcl!'tl;,:y aJ;ter this ·happened t>eteotive ■■■I wih Davis county Sheriffs Offi.oe and al.so a Detective
              w'¼t:h Fa:i=m:l.:ngton .1?olioe aame to t~ke ·pictures of the soene and also ask questions , Deputy
               kept track of who was coming in and out of the crime scene,
 lnmate AtlREU, ANGEL .came back .from the hospital shortly after leaving and was taken inte> the                                  I
 : .. . . .              .. Whepe .a D.ete1:1bive.  .      :£1:om Fa:i.-111:Lngton. :l?oH,;:e attemptQ!!i to •"-!illi.. him q1:u~st;LontL · Re
:,-:e@!;il:il;;~d" ·il :Lawyer .artd refused to ~u1swe,: ,any questions., He was then taken to the ■■■■■ t:lue to
 h±s ,at:t~mpts at self harm (minor :Etbl:'allt:Lona, and a largex .laoerlttion) that we not:i.t:let:I. bi!:fo»e :he ·went
 to ·the ;hO$pita:L While in the - - - be wanted to give ue so!l\ethirig he had up hh reotum.. Sgt
. . . .mtl I opened his ouffpo:rt~ m the t'issue he :ttequested. After :a few ~:tn:utes he was able
   'tO fl::Oduoe, what ;J.ookecl like a two .in:oh bundle, Sgt ■II and I opened it up out :Ln -                                    and found
    a s:tlve:t'.,t:;one .ring and ,also 5 or G p:Leoes of paper with phone numbers and a.dd-:resses~.



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SUPPLEMENTAL:-
on September 26,, 2020 at 1624 I :i;eceived clearance from Cpt •                          that the the CERT team would be
aot:1.-vated to aas:1.st in the movement      u, An.gel #39840                                     Deputies -       and
           w.eve called in to help, Cpl                                                   and I were alread,y'""onsTiift. -




At a.bout 1920 the team antei:-ed Quebec housing unit and approached o e l l - The floor was oovered in
water, foocl ana garbage coming from under the door of oell -              .AB1Ul1U I Angel I s cell, :t gave the fair
  warning order to inmate ABRf!U to submit to search, handcuffing, and movement. 'I'he cell door was
oovered with a towel and no response was given to my order. l signaled for the door and the team
entered.. l\.BREU was ,straight baok from the door when the team attaohed. I •was -               in entering the
cell and obee;rved blood on .UREU. ABREU .resisted handouffing but the team was able to seoure his
hands behind his l::>aok and leg shackles were applied, Deputy-called for a l■■■l■■I
meaning Wlal n~edett ,Pitramed.ios to resp.ond, :I echoed tO' Nurse             that we needed to oaJ.l th.e
atllbulance. URJilU wae carried from the cell, down the stairs, and placed face down on the stret.oher.
ABR!W wasyelltng oal;ti~g us names, complaining about his stomach, and tey;l.l'lg to Jeiok while on the
stretcher. Deputy ·•■I got on the stretcher to hold c:ontrol of UR'SU's lower legs, near his
.calves. ABRJU claimed h~ didn 1·t know :how he was injured a;nd even claimed that we stabbed h:l.m. ABREU
was transported on ;the stretcher to ■■■ to meet the paramedics; during transport we stopped to
place gauze on the ·wound" adfust for h:l..s discomfort, and to verify he was .o:k:~y when be .stopped
yelling, Wqen we arrived in llllilParamedies and Fa;rmington fire was just arriving. Med:l.oal
pe:i:isonal •!!!,valuated and gave medical care, the team assisted wit:h i-emoving Abreuts alotihing and
moving to the new stretcher.
I left as they were loading ABREU in the ambulance so l could gather gea:r to ride .in .the ambulance
to the .ho~pita]..,. l rode in the front seat of the ambulance t;o the 'ho,ipita:l. Deput:l.e1;1 ■■■ and
             followed in a DCSO vehicle. Once at the hospital ABREU was taken to a tr.auma rooln. and was
g;iven·med:l;cai at:tention, I waited to assist answering any questions l could for medical staff, :I
 lC\\ft ~he hc:>spital with ll'armington ambul.anoe and waited at the j.ail ,for Deputies ■■■I and
 to :ret.U'J1'P.::Wit..h in)ll~te ABREU. ABREU returned to the jail .at approx 2200. ABREU :refused tr:> speak with
 the De.t.e~tlve trom Farmington ·Pd who was oalJ.ed into investigate the :Lnoident. ABREU was escorted to
                           and was placed on a 15 minute watch.



 SUPPLEMENTAL:-
 Report enteped f ~
 on 9/26/2020 I was advised of a CERT operation at the .Davis County Jail. ~et. - i n f o r m e d
 me that an inmate had barricaded himself inside a oell in Quebeo unit. ! was infotme'i:i the inmate
 had f::J.ooded his c:iel':). . and .ooverecl the oell window wbioh prevented anyone from seeing inside •
                                                                 a met       with s             .   Al.so present wen Cpl •
                                                                         .     Sgt,
                                                                                      ·                1;1itie .hia een.. Sgt .
                                                                                                          Ile also .had a
 hd.$1'i()l:''f -~f aJr$1ilP.t,   ;Sgt,                                                                f)t'ated for dha:r;ges of
  atteropt~a homi:c:ider kidnapping'




                                                                                                               approached the
   oe11 that :Inmate 1\breu walil being housed, I could see a large.amount of water ·m:llxed with various
  it/.ems out.side the oell,              X l."eco9nilted these items as food and other aommissa:ry m:l.xed with water,


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                                                               Sgt.                                      clearly and loudly
read tnstr\1¢tions for 'Inmate Abreu to submit to handcuffing. Sgt.                                      informed lnmate Abreu
that failure to follow instruotions would result in the use of forae.                             Inmate Abreu did not fol·low
tlte instruations th!ilt $gt'.. · ■iiiiilll clearly announced,

Sgt.        .     then opened the cell door and the team made .entry, I could immediately see that
there ~as•« s~gnificant amount of blood on Inmates Abreus arms and midsection. As I ~pproached
Inmate Ab:i:eu, l observed him to be in a guarded position. From 11\Y point of view, I could not see
his hands. l then instructed .Inmate Ab.reu to put his hands in the air. Inmate ,Abreu did not follow
 these :!,nstruotions.
As the team appr.oaohed Inmate Abreu he backed up to the bunk in the baak of hitl cell. I then made
contaot :a~d' secured Inmate Abreus left arm. Cpl . •made oonta.ct .and secured Inmate 1\breus .right
arm. His legs were secured by Deputies                               Inmate 1\b>:eu offered passive
:resi.st.anoe •. Re was successfully handcuffed behind h:Ls back. Inmate Abreu then began yelling that
his stomach hurt • l then ol>served a J..arge laceration on the abdominal area. I oould ·see the wound
was bieedlng and t::he:t'.e was ,a large a!llount of blood on his abdomen and pelvic area. I then requested
  that Sgt. - • r e q u e s t .a;ll■■■■■I medical ,as I felt the laceration wae significant .and
would neoessit.ate a visit to a trauma center. We then left the cell with inmate Abreu. I dicl not
 observe any weapon in the cell while I was there.
Inmate Abreu was then carried down the stairs and placed on a gurney. !nmate .Abreu was then taken
up to -      in order to meet EMS in the vehicle sally, During transport I observed Deputy
sitting on inmate Abreus lower legs. At no time was inmate J\l:Jreus airway compromised.

Upon arrival to                      ,Inmate Abreu was assessed and tre.ated by DCSO paramedics and Farmington P:l.re
.Department  'persoi:mel,                 Inmate Abreu was then transported to Davis Hospital,
      .'  :i .           ~



         -                   -                                 -                    --                               -                  -
-    -       -   -   -   -       -    -           -   -   -        -    -   -   -    -   -    -       -   -   -            -   --   -       -




    SUPPLEMENTAL;-
    :tnmate J\brtfa .was hous.ed in the - ·
    I was in the horseshoe after CER.'l' entered the cell that inmate Abreu was .housed in, Nurse -
             ¢.all.ed for the radio for me to active EMS. .I then told ■■■■■■■I to ,get an ambulano.e
    here for :l.rimate Al:>reu. 11!,t this moment .I did not know what injuries or issue~ it1mate Abreu was
    having.
    Onoe Nurse - . aa:tnd CERT came down the  stairs :with inmate Abreu I asked for add:l.t:1.onal                       information
     to give tolllllllllll Nurse -     told me he had muit:Lple lacerations on his abdomen and                           possibly
    his wrists. I then relayed ~formation over the radio to ·■■■I The cell door was                                      seoured by
    a CERT member and l a,ssigned Deputy ■■■■■■I to document al'l movement inside QUEBEC                                 and treat
    that area ld.ke a orime soene. I also told him :not to open cell -unttl instruoted to do                             so,
    Inmat.e Ab~eu 'Was taken 'to Davis Hospital by anibulance with Sergeant -                                     Deputies - a n d

    our Administration was notified. Crime Lab was oall in for do0umentat:Lon pu:rpos~s as well as
    Fatmingtl~n l?D for an outside a9enoy investigation. .
    .corpol!'ali-'artd I es.oortad Fa1imington PO and Deputy-around 1111 ai:-e!lS they requested, I was
     informed by sergeant . ■-■■II when the hospital took sc!lns of inmate Abreus injtn:y they could see
     a r.ing anl'l. papers .:l.n his anal cavity, They said it wasnt a medical e ~   na. .and would pass on its
    own, Inmate Abreu was brought bl'ldk from the hospital. Medical came .to - u p o n hill arl:'ival and
    did an 'evaluation on him, Farmington PD was still .he:t'e i:md attempted t.o t:aaik to inmate Abreu at
    which ttlll.~, he re,gue.sted his :Lawyer for all questioning. Inmate Abreu was then ,E111;1qprted !,o the -
      fc;ir ,~09sfA9• He was plaoed on a 1.5 minute watch for what I believe to be self•d.nfl.::l.oted i n j u r ~



    SUP?UDMll:NTAL:-
    SUll'Jli!CT:1 .                         SUPPLEMENTAL REPORT ABREO, Angel (398403) 9/28/20:20
    lNCJ:0lilN'l' #:                      l.281

                                                              Forced oell entry.

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Jail Incident- Rep.ort                                                                                    Page Bof9


            .     On 9/26/2020 at approximately .16130 I was told the CERT team would be aotivated to
assist .in moving inmate MR.EU, ANGEL (398403) from his oeU in Quebec to -         Inmate .Abreu had
barrioa.ded himself in his oell, had covered his window with a towel and other matet'ia.ls, .and was
currently 'flooding his cell with water, soap, and other mate:rials he had available in his cell. I
was already on shift .so I gathe:red my gear and continued to work while I waited for other team
member1;1 tQ a1;rive,




                                                                                                           The .floor
 was covered with blankets., water, trash, and what loolcea like food and other mater a s e had
inside his i;:iell. I t appea1Zed he was preparing for a fight by making the area as hazardous as
possible., "
                 Sgt.;:_,gave a clear oommana at the door for inmate ABREU to s\lbmit to
handouff:Lng, ·Strip seardh:, and movement or force would be used il\ga:l.nst him .and asked for his
response.·· ·:Inmate •ABREU ,c;lid not respond and Sgt, - a l . l e d for the door to :be opened.
           ..     The t·eam .entered the .cell.. I heard C>eput.y - g i v e the ao111ntand show me your hands
as I i;-ounded the corner and entered the aell, I saw inmate ABREU moving towards 1the bac1t:of .his
cell. . He: was alutoh:l.ng his ab.domen .with h.:Ls bandt:1., :t won.cie·.· red .bdefly if he was. e1on.oeaiing ,a
weapon Cif s.ome kind.. 1 ■■11■1111111 the team attached ,to :l.nmate .ABREU ,and move4 h:Lm into .~ pos.:l.tion
where.M eould:be cuffed. lnmate KSREUwu :Lnstruo~ed at'least onoe to .stop resist,;:l.~g and oompl,y.
The inmate ;cl.id not stop i-esist;i;ng. ;As the .team got inmate ABREU under control :I .supplied. them with
the cuffs ·.and shac;:kles that were l:\pplied. lnmate ABREU was shouting ,-nd complaintng abo1.1t his
stomaohc. t_ did notio.e ,some blood on the back of his ,clothing as he waa be.ing ouffed. Deputy -
was cal1i~¥J. for a .■■■■■■I because it appeared that the inmate h.id harmed himself.
                    Inmate AaREU was seo.ured and lifted from the lower bunk in his cell, I tried to back
  out ,;,f tbe ·cel:l atJd keep the door open for the team to e:x::lt. I had to push blankets and trash out
of the way with lllY feet .:to get the door to open wide enough. Inmate ABREU was carried out of his
cell ,and l ,secured the cell door.
Inmate ABRE!] was still¥.elling about his. stomaQb, th,):!eate~ing us, and u ~ n d vulgar
ltmguage.• ; , ,He was ;;ia;:ried •dow;i, the stalrs and plaoer:l on the st:1:.etoh~r. !111!1111!11111 he was .wheeled
 ·out of   the:  Quebec:: housing unit and towards ■■I•      ·
                   The team stopped a aoupl.e of times to make sure that innmte ABREU was doing okay.
Deputy            wafJ positioned on his legs and repositioned eeveral times to adjust for possible
d:Lscomfot't,     Deputy-was ask:Lng inmate ABREU what he had used to hurt himself so we aoU:ld help
him.
Inmate ABREU :refused to answer and even said I didnt do this, you 9UYl'il stal:lbed me Deputy - w a s
repeatedl,:y c:theoll:in9 on the ;i.nmates condition. The team stopped at one point to cihe.ok on inmate
ABREtls wound and to bandage.
 I heard the :nu:t:'ses :say that the di:i;-eot pressure on the ·wound because of his posi-tionin on the
gurney was ·doin:g a scioa job, The inmates vitals were checked onc:e again 'in the                     hallway out
of c:oncevn foz ,h:Ls airway and breathing. The nurses ec,infirmed that he was -respon1111ve and breathing
 so we o~:mtin~ed te> the veh:Lole sally.
          '     '
                      'While ·we ·waited to:r :the ambulance t.o a1:d ve ,                             ohedked the
 inmates :vitals °'gain ana hooked h:l.m \\P to maahines 'to monitoi: him.        :tnmatre ASREU~t .clothing was
 removed and he wa.s ,checked fO;t' other wounds o:r fur.tl'l,e:r diamage.
 He ,was :m0'1'.ed ;from. our -gurney to another and was plaoed in the .aml:>ulat1Qe, I
.Sgt .. - g o t ,into the passenger seat .of the ambU:lanoe ·
 ambutart(le \baa "dle.ared the buUding.

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Jail Incident 8e.port                                                                                          Page 7of9




This was 1;,he encl. of my involvement.

SUPPLEMENTAL:-
At app:roxima:tety 17.30 hours, :t received a call at my reaidenoe f:i:-om Sergeant;
Sergeant•     .        asked if I was able to respond to duty in order to assist i?l- 'mov:j:ng inmate ANGEL
 ABREU from. Quebec housing unit to -housing unit. Sergeant ■■■■■ infomed me that ABRBU was
 refusing to aooperate .met he was also mall::i.ng preparations to fight,
l arrived·the .DCSO and rendezvoused w:l.th other CERT members in the Sergeants office.
                                                        due to ABREU flooding his cell with toilet water,
 ·plaoing 'lllaterbl and substanaes on the floor to create sl;i,pping and .fal:1.ing hazards, I finished
donning •the remainde:r of my prot.ective gear and .wait{l!d 'fen: .other team members to .arr,ive.
once all CERT memberr:s arrived,
                          Appro:icima
d sc:tussed .. our plan of entey with JOS - ·
The team erit!llre~ Quebe0 housin.9 unit .and. proceeded to cell . . . where ABREU was housed. sergeant
..........,as our 1o1pokes erson .and she eommunioated with <ABREU..      She requeste·d his oomplianoe and
~ d . ne~atively.• ■■■■                                                  ■■■■                  and sergeant
-           gave tb.e sttgr,ial to JOS         o Qpen the cell, a.n:a the team began .entey,
 once the cell door opened; I observed approximately 1 inch of standing water on the floor with a
great deal •of food and unknown debris floating. ''l'he words Fuck You ,wei-:e .written in a brown
;1.tu.l::ist.anae. on tlhe lEift wall. I also observed ~l!;JtJ stand;bi,g next to the bunlt, w1~h ltii.i! hands .nea;r;-
'.his wdst. '(palms up) covered in what appeared to be blood. 'l'he ·blood-like substanoe had soaked
·tb:.r:ou~h his Shirt and onto his pant·s. My initial thought .is that ABREU had a sharp weapon in his
 possesdon .·.
·The team proaeeded fo:r:ward to engage ABREU. He quickly leaned over onto his 'hunk and began to
 so:ream and shout that his .stomaah was hu:rt:l.ng. Restraints were applied to his wr:L:st and,:ankles.
 Depu,ty -     instructed. us to :roll ABREV over to disQe:rn the loaation and extent of the inj. U1'Y. to
 ABREO, ~ y             asked ABREU, What did you stab you:rself with? ,ABUU shouted, You fucking
 stabbed me.L Deputy,        oonveyed to Nurse·■■■ that an ambulance was needed. l believe I heard
 the phrase
ABREU was.,oarrie:d .out of ·the ciell, down the stairs, and placed onto a - e .                He was whee.led down
to the ■■■ to meet the responding ambulanae. While on the way t;:o                            ABRBU aomplained .about
his stomai:i)thurting, The .nurses and members of the team tried .to keep                an ages and d:l.reot pressure
on ABREUs wound .•
The rasponct:!.~g a.tnbulanoe arr:i:ved in the veb.iale sally at the same time as we arrived from housing
with ABREU,. The paramed:l.os began their examinations and procedures. l was directed to .sather
necessary equipment to sua.y with :ABRBU while he waa at the hospital.                .Sergeant - r o d e in
the ambulani::ie to the hospital .•
Deputy                                           and ;fol.,lowed the ambul:anoe to Da'1'is hospital. onoe there,
med:Loa.1 p~bfesa:Lo:n:als at..t'entletl to l\SREU, ASRlilU was examined vi·a X•.ray, MRI, and several othe:r
methocls·, 'irhey :dis0.ov.ered that ABREU had shoved ,wltat appeared to :r1e-aample a r.in;s and a .plast::l.c bag
into h:1.$ tedtum, When questic;,ned l:>y medical profeaaionals, ABliI!lU responded that he ,pl.a1;1ed the items
 in his anus because he did not want to have them oonfisCJatsd ·when he wiu;i moved. .to maximum security
houd:p.g, The 11\edica.1 attendees ,said that the items would p.ass normally, and they were nothing that
WbUld' ('lll.U:M bodily da111age,

 Onae all e,caminations were completed, medical personnel aleaned ABRElUs wound again, atVl began to
 apply atapl,,as to seal the wound. '!'hey then stated that theiy would .discharge ABREU after
 approximately 30 minutes of observation. Oudng that observation pe:i:-.iod, .ABRliltJ commented to me that
  he did not appreaiate the fact that I laughed at a joke that ·was made b.y .tihe doctor. ,I asked what
 :Joke ,he, was' ·re:fert'ing to. ABREU said the dooto:r ma.de a rema:11k about h:l.m ·mald:ng baa life decisions,
 and I laU,$Jhed at the .oo~ent. I then responded to ABREU, Why ax-e you still tcy<ing to sneak stuff
 into the •l:aoility? AB!tiU responded with, l got haters on the outside, X cant .help what they send to


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 me,   l.s~~d, OK, At that point, I just decided to stop talking to ABREU and began counting down the
 time for.his observation to end,
At approximately 2119 hours, ABREU was discharged from Davis hospital and we returned to the ocso.
Crime·soene techs met us in the vehicle sally and took pictures of ABREU and his bandaged wound
before .b:r±ng:l.r,,g him baak into the facility, ABREU was again examined by Nurse - p r i o r to being
 escorted •to the ■■■■■I ABREU was placed into the - w i t h o u t :Ln~and given a
suicide smock and gown,
End of :Report




SUPPCEMENTALt;-
on 9/26/2020 at appro:icimately ()545 I was asked to respond to the Davis county Jail for CERT team

                                                                                                 oom .Sgt

S.gt, ·            stated inmate Angel Abreu had barricaded himself inside his cel:l, Sgt -■--
sta~ed ,Abreu would be moved from .Quebec ■■■ilill Sgt. ■■■■■also reported t h a ~ r e u
  was incarcierated for charges of attempted homioide, kidnapping .and assaul,t. 13gt . . . . . . .
:repo:a:ted that inmate Abreu also had lil■llli■iiiiiiiiiliiiiili.liiil■lliiiiiiliiii :l.n his o e ~ n Davis
county O'dl.




 we then went to Po.d Six and entered Quebec houdng unit. once we .got upsta;b:s to QUebec                          I oou .d
 see ,water and foo.d all over the floor .in front on Abreu Cell, Sgt                       ■■I ·then .oa:l1ed out Abreu
 and stated. that he ne.eded to submit to handcuffing or .force would be used. JU:>reu <;lid, not respond.
,Sgt -                     then Qpened the doo:r. We made ent-ey :Lnto the cell . and Ab11eu moved to the badk of .the
 cell. Ono~ ,p1,;1puty ·■■land cpl. . .ecured Abreu arms, Deputy ■■■■and l seaured h:l.s .legs., we
 then .appl;i.l':ld hand cuf'i!s and Shackles. onoe Abreu was restrained he wali! yelling that his s.tomaoh was
;b,1.u;:t. llep(:l.ty- then looked at Abreus stomach and he immediately ~equested a. ■■I                                   I
 could see blot:Ja coming :from Abreus stomach, We then neeaed to move Abreu out of the cell and :down to
  ·the gurney, As we left the cell l could see there was opened food mixed into the water on the
 fJ;oor. onae      we      got down the stairs Abreu was placed faae down on the eiurney. Ab:reu then was ·trying
 to kick his legs., I ·then got on the gurney .and plaoed Abreus legs flat ,a_nd 1_ put my ~ r o s e h.is
 calves. The gurney was then pushed to • • • • While baing pushed up to ■■■oeputy- asked
 Abreu wha~ he :stabb1;1d himself with? AbJ:teu then ala:lmed that we did th:Ls to him. we kept pushing the
 gurney up: t o - The nu:i::ses stoppeli us at',                                    _then applied a bandage to Abreus
 stomach. J\breu was no longer kioking his l.e~s I then got off hie al.aves.. Abreu wa111 then pushed on
 the gurru~y ,all ;the way to the vehicle sally. oav-is a.c:iunty Earf.!,medios were wai:tins, Once ~e got into
 the Veh':i.ole. Sally Abreu cloths were out off to ciheok for further wounds, After his olotha were
 removed Ab:reu was mov-ed fr~u:rney to Farmington Paramedics gurney,. _ Onae Abreu was on
 Fa:i:nl':l.ll,gt:o:n.s gurney Deputy -            and I w!!lre assigned to go to the hospital.
 Deput;y -■■I ~nd. I . dl:ove to ;the hospital and we stayed w:1.th Abreu While there .•
 ou:riJl9 a PAT ,scan onoe of the nurses saw a round object ins:1.d.e of Abreu lower pelvis. The Nurse and
 I ,walked '()Ut and the Nurs.e asked Abreu was he had placed UP his butt. Abreu told us it was his
 .sUve,:- ri~. ,Abreu also said that he had phone numbers and address wrapped up in plastic.
 'l'he nu;i::sefii stat.iad that ;t,.e wot.tl.tl not need :surgery to :retrieve it, ':rhey sa::l.d it would pass on :I.ts own .
   .'l'he :PoO.bC!r• told ·us chat Ab:i:eµ cl:l,<l not. need to stay at the hospital. h1;1 .told us ·that he want.ad to
 watoh '1\bJ:eu1.r vita·l·s fri!t .,µ-j.othe:i: thi:i:ty 1min\U,,e~,. onoe he watohed tbe Vitals the •Mo@pital :t'el,ea-sed
 Abreu.. w~· ·the.n re-turned Abreu back to the Davis Clount;y Ja:l.l at .app:rox:tmi:u:e1y 2.h30,
 When we arrived baok to the jail we wel:'e mat with Fa;mil\gton Detective and Davis County c:dme lab.
 'l'h"'y t:oi;:,l<; photo.a of Ab.reu, Onae we took Photos of 'Ab:reu the ll'a'tmington Deteat:Lve questioned Abreu.
 Abi:,eu.said I want an attorney, The Farmin,gton Detective then said he was cl.one with questions.
            :, i
            "'


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          Deputy,           and I and a few other deputies ·then esoorted Abreu to the - - U P .in
          onae in the c:,ell Al:>reu wa41 given a safety gown, we .removed all restraints ~ h e
               further incident.
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                                                                      ~NMATE COPY
